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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA

 STATE OF FLORIDA,
                     Plaintiff,
              v.
                                                 No. 8:21-cv-2524-SDM-TGW
 BILL NELSON, in his official capacity
 as Administrator of NASA, et al.,
                     Defendants.

                                  NOTICE OF APPEAL

      PLEASE TAKE NOTICE that all Defendants hereby appeal to the United

States Court of Appeals for the Eleventh Circuit from this Court’s Opinion and Or-

der, ECF Nos. 37 and 40, granting Plaintiffs’ motion for a preliminary injunction,

ECF No. 10.

DATED: January 12, 2022                Respectfully submitted,

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                                       Acting Assistant Attorney General

                                       BRAD P. ROSENBERG
                                       Assistant Director

                                       /s/ Zachary A. Avallone
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                                   Counsel for Defendants




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                            CERTIFICATE OF SERVICE

       On January 12, 2022, I electronically submitted the foregoing document with

the clerk of court for the U.S. District Court, Middle District of Florida, using the

electronic case filing system of the Court. I hereby certify that I have served all parties

electronically or by another manner authorized by Federal Rule of Civil Procedure

5(b)(2).

                                         /s/ Zachary A. Avallone
                                         ZACHARY A. AVALLONE
                                         Trial Attorney
                                         U.S. Department of Justice
